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 6   VI TRUONG
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      Case No. 2:09-cr-00421 GEB
12                 Plaintiff,                       STIPULATION AND [PROPOSED]
                                                    ORDER RESCHEDULING TRIAL
13          v.                                      CONFIRMATION HEARING AND
                                                    EXCLUDING TIME UNDER SPEEDY
14   VI TRUONG                                      TRIAL ACT
15                 Defendant.
16   ______________________________/
17          IT IS RESPECTFULLY REQUESTED, by defendant Vi Truong, and plaintiff United
18   States of America, through their respective counsel, that the Court vacate the trial
19   confirmation hearing date scheduled for October 19, 2012, at 9:00 a.m., and reset it for
20   November 2, 2012, at 9:00 a.m. Counsel received an offer from Assistant United States
21   Attorney Jason Hitt at the end of last week. The offer expires on November 5, 2012.
22   Counsel for Mr. Truong needs additional time to review the offer with Mr. Truong.
23   Therefore, we respectfully request that the trial confirmation hearing be reset for November
24   2, 2012, at 9:00 a.m. which is three days prior to the expiration of the government’s offer.
25          THE PARTIES STIPULATE that time should be excluded from October 19, 2012,
26   through November 2, 2012, when the Court computes the time within which the trial of the
27   above criminal prosecution must commence for purposes of the Speedy Trial Act. The
28   parties stipulate that the ends of justice served by granting defendant’s request for a
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 1   continuance outweigh the best interest of the public and the defendant in a speedy trial, and
 2   that this is an appropriate exclusion of time for defense preparation within the meaning of
 3   18 U.S.C. section 3161(h)(7)(A) and (B) (Local Code T4).
 4
            IT IS SO STIPULATED
 5
 6   Dated: October 15, 2012                   /s/ Douglas Horngrad
                                               DOUGLAS HORNGRAD
 7                                             Attorney for Defendant
                                               VI TRUONG
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 9   Dated: October 15, 2012                   /s/ with consent
                                               JASON HITT
10                                             Assistant United States Attorney
11
12                                            ORDER
13          IT IS SO ORDERED. The Court further orders that time is excluded from October
14   19, 2012, through November 2, 2012, pursuant to 18 U.S.C. section 3161(h)(7)(A) and (B)
15   (Local Code T4).
16   Dated: October 16, 2012
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19                                          GARLAND E. BURRELL, JR.
                                            Senior United States District
20                                          Judge

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